851 F.2d 1501
    271 U.S.App.D.C. 274
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Delroy D. HINDS, et al., Appellants,v.Ernest BOWMANv.Cliftia MITCHELL, et al.
    No. 87-7081.
    United States Court of Appeals, District of Columbia Circuit.
    June 8, 1988.
    
      Before STARR, D.H. GINSBURG and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record and on the briefs filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir. Rule 14(c).  It is
    
    
      2
      ORDERED and ADJUDGED by the court that the decision of the district court filed March 26, 1987, entering summary judgment for appellees and dismissing appellants' case, be affirmed for the reasons stated therein.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir. Rule 15.
    
    